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                                   In the
      UNITED STATES COURT OF APPEALS
                        for the Seventh Circuit


                               24-1102

UNITED STATES OF AMERICA,

                                                           Plaintiff-Appellant,
                                     v.

DAVID SARGENT,

                                                          Defendant-Appellee.

            On Appeal from the United States District Court
         for the Northern District of Illinois, Eastern Division.
                No. 22 CR 15 — Manish S. Shah, Judge.


            BRIEF AND SHORT APPENDIX
              OF THE UNITED STATES

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                       JURISDICTIONAL STATEMENT

      Defendant David Sargent was charged in an indictment, together with a

co-defendant, with one count of conspiracy to commit securities fraud through

insider trading, in violation of 18 U.S.C. § 371; three counts of securities fraud,

in violation of 15 U.S.C. §§ 78j(b) and 78ff(a) and 17 C.F.R. § 240.10b-5; and

three counts of securities fraud, in violation of 18 U.S.C. § 1348(1). R. 1.1

      On January 19, 2023, after a trial, the jury convicted Sargent of all six

securities fraud counts, but acquitted him of the conspiracy count. R. 78.2

      On December 20, 2023, the district court granted Sargent’s motion for

judgment of acquittal and, alternatively, for a new trial and entered judgment

of acquittal on the district court docket. R. 111, 112.

      On January 17, 2024, the government timely filed a notice of appeal from

the district court’s December 20, 2023, orders. R. 114.

      The district court had jurisdiction pursuant to 18 U.S.C. § 3231.

Jurisdiction in the Court of Appeals is provided by 18 U.S.C. § 3731.




1 Citations to the Original Electronic Record on Appeal are to “R.,” followed by the

document number. Citations to the government’s required short appendix are to
“RSA.,” followed by the page number. Citations to transcripts of trial proceedings
before the district court, available at R. 84-96, are to “Tr.,” followed by the relevant
page number. Citations to the government’s exhibits admitted at trial are to “G. Ex.,”
followed by the exhibit number; the government’s exhibits that are cited in this brief
can be found at R. 121.
2 The jury acquitted defendant’s co-defendant, Christopher Klundt, of all counts.
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                    ISSUE PRESENTED FOR REVIEW

      The jury returned verdicts of guilty on six counts of securities fraud by

unlawful insider trading. The district court granted judgment of acquittal, and

in the alternative, a new trial, on all six counts based on a finding that,

although it was “possible, even probable” that Klundt unlawfully tipped

Sargent, that inference “could not be held with the certainty required for

conviction,” and also, “in the alternative, that the verdict is so contrary to the

weight of the evidence that a new trial is required.”

      Did the district court misapply the applicable legal standards or abuse

its discretion in setting aside the jury’s verdicts?

                        STATEMENT OF THE CASE

      This prosecution arose from defendant David Sargent’s purchase of stock

and stock call options of Chegg, Inc. (“Chegg”) shortly after speaking by

telephone with co-defendant and Chegg insider Christopher Klundt, who had

just received favorable, non-public information regarding Chegg’s financial

prospects during an internal Chegg Zoom meeting.

      Sargent and Klundt were good friends who met in college. Tr. 306-11,

839, 854. In about 2006, Klundt started a company called StudyBlue, and

asked Sargent to partner with him in the company. Tr. 835-39. The two worked

together until about 2008, when Sargent left StudyBlue to enroll in law school,




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Tr. 840, and eventually became licensed to practice law in the State of Illinois,

Tr. 741.

      In about July 2018, StudyBlue was acquired by Chegg for approximately

$20.8 million. Tr. 112-14. Chegg was a publicly traded, online education

company that offered products such as online study guides. Tr. 104-05.

According to Klundt, as part of the sale, he received about $300,000 in addition

to restricted shares of Chegg stock scheduled to vest over the course of three

years. Tr. 846-51, 911. After the sale, Klundt worked for Chegg through at least

the end of 2020, serving as its General Manager and then as a Vice President.

Tr. 114-15. Sargent, who had left StudyBlue long before, received no money

from the Chegg acquisition. Tr. 911-12.

      In the late summer of 2019, Sargent began laying the foundation for a

hedge fund business with a longtime friend, David Primer, whom he had

known since high school. Tr. 623-24. The hedge fund business Sargent and

Primer planned was aimed at algorithmic trading on stock market volatility.

Tr. 623-24. It did not involve research of, or trading in, specific companies.

Tr. 628. Primer had no expertise in how to research or predict the performance

of specific companies. Tr. 629. Sargent and Primer did not formalize their

hedge fund business until March 2021. Tr. 623-24.




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      Sargent’s April 2020, Communications with Klundt and Primer

      On April 20, 2020, Sargent, Klundt, and their spouses had a Zoom call.

Tr. 873-74, 937. The following day, on April 21, 2020, Klundt texted Sargent,

saying that it was good talking to “you guys,” and adding, “I misspoke. The

earnings call with Wall Street is May 4.” See G. Ex. 60.3

      On April 21, 2020, about an hour after receiving the text message from

Klundt, Sargent, using his Vanguard Roth IRA account, placed a “limit order”

to purchase 28 shares of Chegg’s stock. Tr. 373-76; G. Ex. 60. A limit order

allows a person to purchase stock for no more than a certain price—the limit

price. Tr. 479, 495. The limit order specified that Sargent would pay no more

than $35.15 per share to buy the Chegg shares. Tr. 376-77. The limit order was

not filled because the market price was higher than the maximum price

Sargent was willing to pay. Tr. 495-96.




3 Klundt testified that he did not recall mentioning during the Zoom call an upcoming

May 4, 2020, Chegg public earnings call, and also testified that he did not mention
anything about a May 1, 2020, internal Chegg meeting because that was something
he would never discuss. Tr. 875, 877-78. It is unclear whether Klundt knew of the
scheduled May 1, 2020, internal Chegg meeting on April 20, 2020, and as noted below,
Klundt later texted Sargent clarifying the date of the public earnings call, suggesting
that he did in fact mention it during the April 20 call. Sargent’s wife testified that
she did not recall any specifics that may have been discussed during the Zoom call
about Chegg or about Chegg’s May 4, 2020, public earnings call. Tr. 1117.

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      Also on April 21, 2020,4 Sargent called Primer to tell him of his interest

in Chegg securities. Tr. 631-32. According to Primer, Sargent asked about what

could be done with Chegg options. Tr. 631. Primer knew how to trade options

and Sargent looked to him for advice on how to do it. Id. Primer testified that

Sargent told him that he expected “Chegg would do well in the throes of

COVID, and that information might come to light over the earnings call.”

Tr. 637, 654. He suggested that Sargent wait until May 1 to go long on the

Chegg options because of “options decay,” which means the price of options gets

cheaper as you get closer to the expiration date. Tr. 658.

      On April 22, 2020, Klundt received an internal Chegg email notifying

him and other Chegg executives that there would be an internal Zoom meeting

on Friday, May 1, 2020, at 9 a.m. PST (11 a.m. CST). Tr. 148-53.5 The purpose

of the Zoom meeting was to discuss the upcoming Chegg earnings call

scheduled for the afternoon of Monday, May 4, 2020. Id. The Zoom invitation

set forth an approximate 1 and one-half hour duration for the meeting,

meaning the call was scheduled to end at 12:30 p.m. CST. G. Ex. 10.




4 Primer testified that he could not recall the particular day in April that Sargent

called; telephone records reflect that Primer and Sargent spoke on April 21, 2020,
and had not spoken on the phone prior to that date since March 23, 2020. Tr. 758-59.
5 Sargent’s wife testified that she could not recall what was discussed during this call.

Tr. 1118.

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      Later that day, at about 9:27 p.m., the Sargents and the Klundts had

another Zoom call. Tr. 750; G. Ex. 60.

      May 1, 2020, Internal Chegg Meeting

      As confirmed by Chegg records, Klundt participated in the Chegg

internal meeting on May 1, 2020, and left that meeting at 12:53 p.m. CST.

Tr. 155-57. During the meeting, Chegg’s performance during the most recent

quarter and trends related to future performance were discussed, including

specific metrics and financial data. Tr. 157-159.

      Tracey Ford, Chegg’s Vice President of Investor Relations, testified that,

typically, at such meetings, the attendees listen to the recording of the “script”

for the public earnings call and discuss any questions the attendees may have.

Tr. 157. According to Ford, a previous draft of the script noted that in the last

two weeks of March subscribers had grown 119% on a year-over-year basis, but

she did not recall whether that metric was discussed during the May 1, 2020,

internal meeting. Tr. 143-45, 159. However, by the time of the May 4, 2020,

public earnings call, the 119% metric had been deleted from the script and

instead Chegg publicly stated that the subscriber growth rate for the Second

Quarter was expected to be at least 45% year-over-year. Tr. 143-46.

      At about 9:44 a.m. on May 1, 2020, before the Chegg internal meeting

began, Primer texted Sargent asking when he would like to discuss the Chegg

position. G. Ex. 66A. Sargent texted back that he would be free at about 1 p.m.

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CST that day. Id. At about 12:26 p.m.—before the Chegg internal meeting had

ended—Sargent called Primer and they spoke for 37 minutes. G. Ex. 60.

      At 1:04 p.m. on May 1, 2020—minutes after Klundt left the meeting in

which positive earnings information had been previewed for high-level Chegg

employees—Klundt and Sargent had a phone call that lasted about 4 and one-

half minutes. G. Ex. 60. Telephone records showed that this May 1, 2020, call

was only the second time Klundt and Sargent had spoken by phone in 2020—

the first call having been on January 8, 2020. Tr. 364.

      Sargent’s May 1, 2020, Purchase of Chegg Shares and Call
      Options

      Between about 1:41 and 1:51 p.m. on May 1, 2020—approximately 30

minutes after completing his call with Klundt, Sargent purchased 271 shares

of Chegg stock in two separate transactions at just over $42 per share through

a “market order” (with no ceiling price on the purchases), using his Vanguard

Roth IRA retirement account. Tr. 377-79, 498-500; G. Ex. 60.6 Sargent paid

$11,415 for these shares, reducing his retirement account balance to $5.61.

Tr. 381, 501-02. Given the price of the stock and the cash in the account at the

time, Sargent purchased the maximum number of shares he could using his

Vanguard account.




6 A “market order” directs the purchase of shares at whatever price they are being

traded in the market at that time. Tr. 499.

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      At about 1:58 and 2:40 p.m. the same day, Sargent had two short phone

calls with Primer. G. Ex. 60. At trial, Primer testified that he and Sargent

discussed specific quantities and strike prices of Chegg call options to

purchase. Tr. 638-39.

      At about 2:44 p.m., Primer used the internet to execute on Sargent’s

behalf the purchase of Chegg call options. Tr. 641-42; G. Ex. 60. Primer

purchased for Sargent a total of 214 Chegg call options—all with a May 15,

2020, expiration date. Tr. 431-32, 642-43. Through these options, Sargent

potentially controlled 21,400 Chegg shares with a market value of

approximately $900,000. Tr. 533-34.

      Sargent had never purchased shares of Chegg stock before May 1, 2020,

and had only ever attempted to do so on April 21, 2020, when he placed a “limit

order” for 28 shares. Tr. 495. Primer had never purchased Chegg options—for

Sargent or himself—before May 1, 2020. Tr. 631.

      Forty-eight of the 214 options Sargent purchased had a strike price of

$40; 166 of them had a strike price of $50. Tr. 432-34. When Primer made these

purchases on May 1, 2020, Chegg’s stock was trading at a little more than $42

per share. Tr. 520-21, 755. From 2015 through May 1, 2020, the price of Chegg

shares had never reached $50 per share. Tr. 521-22.

      With Primer’s assistance, Sargent made the May 1, 2020, purchase of

214 Chegg call options through Sargent’s brokerage account at TradeStation.

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Tr. 641-43. The options cost Sargent a little less than $30,000. Tr. 434, 768. At

the time of the purchase, Sargent had only $21,926.50 cash in the account—

nearly $8,000 less than the Chegg options’ purchase price. Tr. 434-35. As a

result, TradeStation essentially loaned Sargent the remaining amount due on

margin to fund the balance of the purchase of the Chegg call options. Tr. 435-

38.

      The total cost of the Chegg shares and call options Sargent purchased on

May 1, 2020, was approximately $41,181. G. Ex. 63. Tax returns for Sargent

and his wife show that their adjusted gross income was $93,108 for 2018, and

$112,968 for 2019. Tr. 311-14, 337-39. Thus, in a single day, Sargent used a

substantial portion of his and his wife’s adjusted gross income for the past two

years to purchase Chegg securities.

      According to Kevin Barrett, the government’s expert, in order for

Sargent’s options position to be profitable, there would need to be a “sudden

and significant jolt or spike upward in price.” Tr. 546. He opined that, given

that there was only a two-week window between Sargent’s purchase of the

options and their expiration, that jolt could only be driven by a “specific

company-driven type of an event”—such as the release of favorable information

regarding the company’s earnings and projected earnings during that period.

Id.




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      Chegg’s May 4, 2020, Public Earnings Call and Sargent’s Sale of
      Chegg Stock

      Chegg’s public earnings call was held on the afternoon of Monday, May

4, 2020. Tr. 160. Sargent and Primer both listened to the call and exchanged

texts as it happened. Tr. 646-47. At about 3:52 or 3:53 p.m., during the earnings

call, Primer sent Sargent a text noting, “They didn’t bring up the 200% figure

. . . They said 45% growth in Q2. If you’re right, that’s a conservative estimate.”

Tr. 650. Primer explained that Sargent had told him in a previous call that he

thought “online engagement” with Chegg would be at or around 200% because

of COVID. Id. Primer did not recall where Sargent got that figure. Id.7

      Chegg issued a press release shortly after the earnings call. Tr. 160-61.

The First Quarter results and Second Quarter guidance Chegg announced

were positive and beyond Chegg’s original expectations. Tr. 129-30. According

to Ford, before the earnings call and press release, there had been uncertainty

and “angst” within Chegg about how COVID would impact the company’s




7 As noted above, Ford testified that, during the May 1, 2020, internal meeting, Chegg

disclosed to its executives that subscriber growth was expected to be at least 45%, not
that it had recently increased by 119%, as reflected in a draft “script” for the May 4,
2020, public earnings call. Ford’s testimony regarding the 119% figure does not match
references by Sargent and Primer to a 200% figure—and the trial testimony did not
shed light on whether the mismatch was the result of Ford, Sargent, and Primer
talking about different metrics, or of Sargent having misheard or misremembered a
metric that Klundt shared with him. Nevertheless, Primer’s testimony established
that Sargent had been expecting to hear a different—and higher—number during the
call.

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business, Tr. 136-37, and Wall Street analysts had a negative sentiment about

Chegg’s performance, Tr. 131-32.

      Hours after the May 4, 2020, earnings call, Klundt texted Sargent the

following emoji with no accompanying explanation:




G. Ex. 8. Sargent texted back: “Congratulations on a great quarter! The

analysts are swooning.” Tr. 756.

      At the close of trading on May 4, 2020, Chegg’s stock price was $43.79.

Tr. 755. The following day, the price of the company’s stock hit unprecedented

heights, reaching an opening price of $53.60, and a high of $61.33. Tr. 549-51.

Chegg’s trading volume also dramatically increased, reaching 38,518,000

shares—about 36 million more than the volume traded on May 1. Tr. 549-50.

Government expert Barrett opined that the increases in price and volume

demonstrated that the market was completely taken by surprise by Chegg’s

earnings release. Tr. 550-51.

      On May 5, 2020, at Sargent’s direction, Primer sold all of the Chegg

options Sargent had purchased on May 1, 2020. Tr. 652-53. The sale netted

Sargent a profit of about $103,000—a return of almost 350% in four days.

Tr. 756-57.



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      On June 19, 2020, Sargent sold the Chegg shares he had purchased

through his Vanguard account on May 1, 2020, and made an additional profit

of about $7,000. Tr. 757.

      Klundt’s Concealment and Trial Testimony

      Several months later, in September 2020, FINRA sent a letter to Chegg

asking it to circulate to company insiders a five-page list of persons and entities

who had traded in Chegg’s securities at around the time of the earnings call.

Tr. 713-17. The list included Sargent’s name and city of residence. Tr. 717.

Chegg circulated the questionnaire to its insiders, including Klundt. Tr. 197-

99. G. Ex. 19. Klundt responded, stating, “I do not recognize any individual or

entity on the FINRA list, nor do I have any investments or funds under

management with any entity on the list.” Tr. 717-20; G. Ex. 20.8

      Klundt testified at trial that he understood the prohibition against

insider trading. Tr. 921-27. Klundt denied knowing information about Chegg’s

First Quarter financial performance prior to May 1, 2020, and denied knowing

that Sargent was trading Chegg stock. Tr. 878-80. He testified that the first



8 This language mirrored language found on page 9 of the 16-page attachment to the

email Klundt received. G. Ex. 19. Here is the relevant excerpt from that page:




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time he ever learned that Sargent traded Chegg stock was when the

government told him about it in January or February 2021. Tr. 880-81.

      As for the April 21, 2020, text he sent to Sargent correcting the date he

had given Sargent for the earnings call, Klundt testified that he had never

before sent Sargent a text about an upcoming earnings call. Tr. 940. He also

testified that the May 1, 2020, internal Chegg meeting was the first one he

could recall having participated in. Tr. 941-42. Regarding the telephone call he

had with Sargent shortly after that internal Chegg meeting, Klundt testified

that, while he does not recall what he and Sargent discussed, he did not tell

Sargent anything about the May 1 meeting or about Chegg’s financial

performance because he “would never do that.” Tr. 882-83. Klundt also testified

that, as far as he knew, Sargent did not work in the online education industry

after he left StudyBlue in 2007 or 2008—in other words, it was unlikely that

Sargent had sufficient knowledge of this industry to understand and

appreciate trends and predict Chegg’s performance.

      Klundt testified that the emoji with dollar signs he sent to Sargent the

evening of May 4, 2020, was meant to express excitement about how the

favorable earnings information affected him and his family, not how it might

affect Sargent. Tr. 887. He acknowledged, however, that he had never before

sent Sargent a text after a positive Chegg earnings call and had never before

sent an emoji like the one he sent Sargent. Tr. 954-55. He also acknowledged

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that he did not send any of his other friends a similar emoji concerning the

May 4, 2020, earnings call. Tr. 956.

      Regarding the email he sent to Chegg in late September 2020 denying

that he recognized any of the names on the FINRA list, Klundt testified that

he was “careless” in reading the email and did not carefully review every page.

Tr. 889-900. He said that he looked only for people with whom he had

investments, such as Steve Wallman (whom Klundt called as a character

witness) and did not see Sargent’s name on the list. Id.

      The District Court’s Ruling

      Following the jury’s verdict, Sargent filed post-trial motions challenging,

among other things, the sufficiency of the government’s evidence and seeking

judgment of acquittal and, in the alternative, a new trial. R. 101. In his motion,

Sargent principally contended that the evidence was insufficient to convict

him. R. 101 at 16-29, and also raised other arguments, including (1) that the

district court erred by admitting Klundt’s out-of-court statements as co-

conspirator statements; (2) that there was an irreconcilable inconsistency in

the jury’s acquittal of Klundt but conviction of Sargent; (3) that venue was

improper; and (4) that the government made inappropriate comments

regarding Sargent’s failure to testify. Id. at 13-16, 30-40.

      On December 19 and 20, 2023, after briefing by the parties, R. 101, 105,

108, the district court entered a judgment of acquittal and, in the alternative,

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a new trial, and delivered an oral ruling explaining its decision. R. 111, 112,

113; RSA 3-11. The court rejected most of Sargent’s claims, including those

related to hearsay, venue, inconsistency of the verdicts, and alleged

government misconduct. RSA 8-9. But the court determined that this is “the

rare and unusual case that fell short of the necessary inference[s]” to find guilt

“beyond a reasonable doubt.” RSA 8. Although the court acknowledged that a

conviction may be secured through circumstantial evidence, that the evidence

must be viewed in the light most favorable to the verdict, and that, in the

court’s view, the “jury was properly instructed and the evidence before it was

properly admitted,” RSA 8, it found that there was insufficient evidence to

conclude, beyond a reasonable doubt, that Klundt disclosed material, non-

public information to Sargent with knowledge that Sargent would trade on it,

RSA 8.

      The court viewed the May 1 telephone call between Klundt and Sargent

as the only time such information could have been conveyed. RSA 5. The court

acknowledged that “[t]here is suspicious evidence surrounding the phone call,”

RSA 6, and viewed it as “probable” Klundt tipped off Sargent, RSA 7, and “more

likely than not that both Mr. Klundt and Mr. Sargent engaged in insider

trading,” RSA 9-10. The court referenced the Klundts’ conversations with the

Sargents, including Klundt’s alerting Sargent to the date of the earning

announcement; Sargent’s expression to Primer of specific confidence in Chegg’s

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online customer engagement; the fact that Klundt sent Sargent an “unusual

text message” following the earnings call—a message he did not text to anyone

else; the fact that Sargent responded by congratulating Klundt on the quarter,

which confirmed that the emoji was meant to reference the value of Chegg

stock; and the fact that Sargent had previously placed a limit order in April for

Chegg stocks that reflected less confidence in Chegg’s prospects than the

purchases he made on May 1. RSA 6. The court also suggested that various

factors identified by the First Circuit to guide consideration of insider cases

were “helpful” and each of those factors supported the jury’s verdict. RSA 7-8

(discussing United States v. Chan, 981 F.3d 39 (1st Cir. 2020)). But the court

found that facts in Chan were “weightier” in that, in that case, “[t]here were

mutual trades, money passing between the two defendants, and the

concealment was more nefarious” and that, in this case, “[t]here was no

concealment” by Sargent. RSA 8. And it found that the evidence, while

suspicious, did not meet the standard required to support a criminal

conviction.

      The court reasoned that Sargent’s “bullishness” about Chegg’s

performance “could come from so many different types of information,

including public or immaterial information about Chegg and the economy

during the pandemic, that a jury would have to guess that Klundt disclosed

material, inside information.” RSA 6. And regarding Klundt’s concealment

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from FINRA his relationship with Sargent, the court contended that it was

“not probative of Klundt’s knowledge on May 1st, that Sargent was going to

trade based on inside information.” RSA 6-7. The court asserted that the record

lacked evidence showing that Klundt was “aware of Sargent’s trading

practices,” that Sargent’s trading “was some mutually shared topic,” or that

Klundt “kn[ew] of Sargent’s plan to trade.” RSA 7. Finally, because the court

determined that “the evidence in the light most favorable to the government

cannot sustain a conviction” the court also found, “in the alternative, that the

verdict is so contrary to the weight of the evidence that a new trial is required”

under Rule 33. RSA 9.

                        SUMMARY OF ARGUMENT

      The district court erred in granting defendant’s motions for judgment of

acquittal and, alternatively, for a new trial. Contrary to the court’s

determination, viewing the evidence in the light most favorable to the

government, the evidence was sufficient to permit a reasonable jury to find all

of the elements of the charged offenses beyond a reasonable doubt.

      The evidence established that Sargent had a close friendship with co-

defendant Christopher Klundt, who was a Vice President at Chegg, Inc. A text

message from April 21, 2020, showed that, the day before, Klundt and Sargent

had discussed Chegg’s upcoming May 4 earnings call, and that Klundt was

aware that Sargent was interested in the timing of that scheduled earnings


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call. The undisputed evidence showed that on the morning of Friday, May 1,

2020, Klundt learned material, non-public information during an internal

Chegg, Inc. Zoom meeting—specifically, that on Monday, May 4, 2020, Chegg,

Inc. was going to publicly announce its strong First-Quarter earnings and its

expected strong Second-Quarter earnings. Klundt and Sargent spoke by

telephone about 11 minutes after the conclusion of the internal Chegg meeting,

Sargent and Klundt had a 4 and one-half minute phone call—only their second

phone call in 2020—and beginning within 45 minutes of that call, Sargent

made extremely and uncharacteristically large purchases of Chegg securities,

cleaning out his 401(k) account and effectively borrowing from his trading

account to do it.

      After the earnings information was publicly disclosed, Klundt texted

Sargent—and only Sargent—a “money-mouth” emoji, and later lied about

knowing Sargent when questioned in connection with a FINRA investigation

of trades made near the time of Chegg’s May 4, 2020, public earnings call. The

jury could—and did—reasonably infer from this and other evidence that

Klundt tipped Sargent to material, non-public information regarding Chegg’s

unexpectedly favorable earnings—and that he did so knowing that Sargent

would trade on it. The district court erred in concluding otherwise, and on that

basis, setting aside the jury’s verdict.




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                                 ARGUMENT

The District Court Erred in Granting Defendant’s Motions for
Judgment of Acquittal and for a New Trial.

   A.     Standard of Review

        This Court reviews de novo a district court’s determination of a motion

for judgment of acquittal under Rule 29 of the Federal Rules of Criminal

Procedure. E.g., United States v. White, 95 F.4th 1073, 1078 (7th Cir. 2024);

United States v. Filer, 56 F.4th 421, 425 (7th Cir. 2022).

        Where the motion is based on the sufficiency of the evidence, the

standard for granting the motion—and for upholding a district court’s

determination of the issue—is highly deferential of the jury’s verdict. E.g.,

White, 95 F.4th at 1078 (citations and internal quotation marks omitted).

Under this standard, a court may overturn a conviction only if it finds that “the

record contains no evidence, regardless of how it is weighed, from which the

jury could find guilt beyond a reasonable doubt.” United States v. Griffin, 76

F.4th 724, 741-42 (7th Cir. 2023) (internal citations and quotation marks

omitted); United States v. Presbitero, 569 F.3d 691, 704 (7th Cir. 2009) (citation

and quotation marks omitted). Put another way, the jury’s verdict must stand

if “any rational trier of fact could have found the essential elements of the crime

beyond a reasonable doubt.” United States v. Bard, 73 F.4th 464, 479 (7th Cir.




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2023) (citation omitted), reh’g denied sub nom. United States v. McClure, No.

21-2689, 2023 WL 6051011 (7th Cir. Sept. 15, 2023); Filer, 56 F.4th at 425.

      In making this determination, the Court views the evidence presented

at trial “in the light most favorable to the government,” and draws all

reasonable inferences in the government’s favor. See, e.g., White, 95 F.4th at

1078 (citations and internal quotation marks omitted); United States v.

Peterson, 823 F.3d 1113, 1120 (7th Cir. 2016). The court affords great deference

to the jury’s deliberations, respecting that it is “the exclusive function of the

jury to determine the credibility of witnesses, resolve evidentiary conflicts, and

draw reasonable inferences.” United States v. Godinez, 7 F.4th 628, 638–39

(7th Cir. 2021) (internal citations and quotation marks omitted). See also, e.g.,

United States v. Griffin, 76 F.4th 724, 741-42 (7th Cir. 2023) (internal citations

and quotation marks omitted); United States v. Brown, 973 F.3d 667, 681 (7th

Cir. 2020). Courts “do not re-weigh the evidence or second-guess the jury’s

credibility determinations.” United States v. Taylor, 637 F.3d 812, 815 (7th Cir.

2011). As this Court emphasized in United States v. Jones, the relevant inquiry

does not ask what the Court would have decided if it were on the jury and does

not require that the Court itself be convinced by the evidence. 713 F.3d 336,

340 (7th Cir. 2013) (citation omitted).

      This court reviews a district court’s determination of a motion for a new

trial under Fed. R. Crim. P. 33 for an abuse of discretion, giving deference to

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the district’s court’s determination. United States v. Rivera, 901 F.3d 896, 903

(7th Cir. 2018). Although such a motion may be granted based on the district

court’s assessment of the evidence, a “new trial should be granted only if the

evidence preponderates heavily against the verdict, such that it would be a

miscarriage of justice to let the verdict stand.” United States v. Friedman, 971

F.3d 700, 713 (7th Cir. 2020) (citations omitted). See also United States v.

Peterson, 823 F.3d 1113, 1122 (7th Cir. 2016) (stating that “the exercise of

power conferred by Rule 33 is reserved for only the most extreme cases.”)

(citation omitted); United States v. Santos, 20 F.3d 280, 285 (7th Cir. 1994) (“A

jury verdict in a criminal case is not to be overturned lightly, and therefore a

Rule 33 motion is not to be granted lightly”).

   B.         Analysis

        1.         The Evidence Was Sufficient to Allow a Rational Jury to
                   Find Sargent Guilty of the Securities Fraud Counts Beyond
                   a Reasonable Doubt.

              a.     The Elements of the Offenses of Conviction

        As the district court instructed the jury, in order to prove insider trading

under 15 U.S.C. § 78j(b), the government was required to establish: (1) that in

connection with the purchase or sale of a security, the defendant committed

“insider trading” with the intent to defraud; (2) the defendant acted willfully;

and (3) the defendant knowingly used, or caused to be used, the Internet, which




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is a means and instrumentality of interstate commerce, in furtherance of the

fraudulent conduct.

      The district court instructed the jury that in order to prove insider

trading under 13 U.S.C. § 1348, the government needed to establish: (1) there

was a scheme to defraud, specifically, “insider trading,” as charged in the

indictment; (2) the defendant knowingly executed the scheme; (3) the

defendant acted with the intent to defraud; and (4) the scheme was in

connection with any security of an issuer with a class of securities registered

under Section 12 of the Securities Exchange Act of 1934 or that is required to

file reports under Section 15(d) of the Securities Exchange Act of 1934. R. 80

at 21-22.

      The court defined the term “insider trading” for the jury as follows:

      “Insider trading” requires proof beyond a reasonable doubt that:

      1. A corporate insider, or tipper, obtained material, non-public
      information under a duty of trust and confidence to keep that
      information confidential. Information is “material” if there is a
      substantial likelihood that a reasonable investor would have
      considered it significant in deciding whether to purchase or sell
      securities. Information is non-public if it is not available to the
      public through sources such as press releases, Securities and
      Exchange Commission filings, analyst reports, magazines,
      newspapers, television, radio, websites, Internet chat rooms, or
      online message boards. To constitute non-public information,
      information must be specific and more private than general rumor;
      and




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      2. In violation of that duty of trust and confidence, the insider
      disclosed the material, non-public information to an individual, or
      tippee, so that the tippee could trade using the information; and

      3. The tipper personally benefitted in some way, directly or
      indirectly, from the disclosure of the material, non-public
      information; and

      4. The tippee received the material, non-public information and
      knew that the information had been disclosed in violation of a duty
      of trust and confidence; and

      5. The tippee knew that the tipper personally benefitted in some
      way, directly or indirectly, from the disclosure of the material, non-
      public information; and

      6. The tippee used the material, non-public information to
      purchase securities using a means and instrumentality of
      interstate commerce, in this case, the Internet.

R. 80 at 24.9

         b.     The Evidence Supported the Inference that Klundt
                Unlawfully Tipped Material, Non-Public Information to
                Sargent and that Sargent Traded on That Information.

      The evidence presented to jury included strong circumstantial evidence

from which a rational jury could find beyond a reasonable doubt that Klundt

tipped Sargent about material, non-public information concerning Chegg’s

recent and expected earnings. The evidence established that Sargent and

Klundt had discussed Chegg’s upcoming earnings call in late April; that




9 These instructions confined securities fraud under § 1348 to insider trading and

defined “willfully” to require that the defendant knew his conduct was “against the
law,” as opposed to “wrongful,” over the government’s objection. The government is
not challenging any of the court’s instructions on appeal.

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Sargent placed an initial limit order of Chegg stocks prior to Klundt’s receipt

of favorable, non-public information, which indicated a lack of confidence in

the securities; that Klundt and Sargent had a brief telephone conversation

directly following an internal Chegg call at which positive material and non-

public information about Chegg’s performance was disclosed; that the call was

followed within two hours by Sargent’s purchase of a significant quantity of

Chegg stocks and risky options; that Sargent emptied his entire retirement

savings account to purchase the stocks, emptied his TradeStation account (and

effectively borrowed even more from TradeStation) to purchase the options,

and spent in total an amount that represented a significant portion of the

Sargents’ gross income; that Klundt and Sargent communicated following the

May 4 earnings call in a way that suggested Klundt’s consciousness of

Sargent’s likely return; and that Klundt falsely responded to FINRA’s inquiry,

which suggested an attempt to conceal his relationship with Sargent.

      Details regarding Sargent’s purchase of the Chegg securities provided

substantial support for the conclusion that Sargent made these purchases

based on favorable material, non-public information provided to him by

Klundt, rather than based on generally available information concerning

Chegg’s business and the pandemic. The extremely aggressive nature of the

purchases, which stood in stark contrast with Sargent’s timid “limit” order

placed ten days earlier, the extent of the personal resources Sargent devoted

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to the purchases, despite the lack of any evidence that he or his friend, Primer,

had done any investigation of Chegg’s prospects, and the risky nature of the

position taken by Sargent in light of both the then-current value of the stock

and the short expiration period of the options—all demonstrated a degree of

confidence in Chegg that strongly suggested that Sargent possessed material

information that had not yet been—but soon would be—made public.

      Moreover, the evidence indicated that generally available information

could not justify Sargent’s aggressive—and uncharacteristic—purchases.

Chegg’s Vice President for Investor Relations testified that, prior to the First-

Quarter earnings and Second-Quarter projections, there was considerable

uncertainty about the company’s prospects in light of the pandemic. Tr. 129-

31. Moreover, Klundt himself testified that the positive news he learned on

May 1, 2020, came as a relief to him, given the uncertainty surrounding

Chegg’s financial prospects. Tr. 878, 886, 919-21, 944-47. Finally, as explained

by the government’s expert, the sudden increase in the stock’s price following

the May 4, 2020, demonstrated that the market as a whole was caught off

guard by Chegg’s success, Tr. 549-50, and that fact provided further support

for the inference that Sargent acted on the inside information provided to him

by Klundt, rather than on general information available to the market before

the earnings announcement.




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         c.    The Evidence Showed That Klundt Expected that
               Sargent Would Trade on the Insider Information He
               Disclosed.

      Although there was no recording of Klundt’s call with Sargent

immediately following the Chegg insider meeting, the circumstantial evidence

strongly supported the inference that Klundt disclosed material, non-public

information, knowing or intending that Sargent would trade on it. Klundt’s

April 21 text message alerting Sargent to the May 4 earnings call, his repeated

communications with Sargent on and around the May 1 internal meeting, and

his unsolicited text message sending a dollar-sign emoji following the May 4

earnings call (which reasonably could be construed as congratulatory to

Sargent), support such an inference. Klundt’s failure to acknowledge his

relationship with Sargent, despite the men’s close friendship and their

undisputed communications before and after the May 4 earnings call, also

strongly supports that inference.

      More specifically, the evidence showed that Klundt knew Sargent was

interested in trading in Chegg securities. Klundt’s April 21, 2020, text to

Sargent correcting the date he previously had given for the Chegg public

earnings call showed that: (1) they already had spoken about the earnings call,

and (2) Klundt considered that date sufficiently important to Sargent to

warrant correction. And, although Klundt testified that he did not recall




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mentioning the May 4 earnings call in the Zoom call on April 20, his text

demonstrates that the issue was in fact discussed.

       In addition, the evidence established that, at the time of the couples’

April 22 Zoom call, Klundt was aware he would be attending an internal

meeting on May 1 scheduled to take place between 11:00 a.m. and 12:30 p.m.

CST, at which time he would learn material, non-public information about the

company’s performance. Tr. 941; G. Ex. 60. Sargent’s text to Primer on the

morning of May 1 indicating that he would be available to speak with Primer

at 1:00 p.m. provided the jury with a basis to infer that Klundt had informed

Sargent of the scheduled internal meeting. That inference was not undermined

by evidence showing that Sargent unsuccessfully reached out to Klundt at

about 11:55 a.m., Tr. 778-79; to the contrary, a rational jury could infer from

that call that Sargent was anxious to receive information disclosed during the

meeting.

      Klundt’s text of the emoji to Sargent a few hours after the May 4 earnings

announcement, which is reasonably understood as an expression of

congratulations to Sargent regarding the money he expected Sargent had made

trading on the information received from Klundt, rather than as a boast about

Klundt’s own success, see Tr. 887, 952-56, provided further evidence supporting

the inference that Klundt was aware of Sargent’s intent to trade on the

information he received from Klundt—particularly in light of Klundt’s April 21

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text about the May 4 earnings call, the two men’s May 1 call immediately after

the internal Chegg meeting (which was only the second of two phone calls they

shared that year), and the fact that Klundt did not send the emoji to any of his

other friends and had not sent that particular emoji to anyone before. See

Tr. 955-56. And the fact that Klundt sent the emoji text without any

explanation indicates that Klundt expected Sargent to understand what it

meant. In the context of the evidence as a whole, the jury could rationally reject

Klundt’s explanation—that the emoji merely celebrated his own success—

particularly given that Sargent was the one friend he had who had missed out

on this and other paydays by leaving StudyBlue years before.

      Likewise, the jury could reasonably view as additional proof Klundt’s

weak attempt to explain away his failure to acknowledge his relationship with

Sargent in response to the FINRA inquiry as a careless mistake, given all the

circumstances, including the importance of the inquiry, which was stressed by

Chegg’s counsel. See Tr. 971-73. Klundt’s efforts to conceal provided strong

evidence of consciousness of guilt, and—particularly when coupled with all of

the other suspicious circumstances—provided another basis for the jury to

have “infer[red]” beyond a reasonable doubt that the content of Sargent and

Klundt’s May 1 call included the disclosure of material, non-public information

regarding Chegg. See Carpenter v. United States, 484 U.S. 19, 23 (1987) (“steps

to conceal” trades supported insider trading conviction); United States v.

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Larrabee, 240 F.3d 18, 23 (1st Cir. 2001) (finding “significant” efforts of tipper

and tippee “to conceal their relationship”); Chan, 981 F.3d at 58-60 (false

denials in FBI interview helped allow a “reasonable jury to conclude” the

defendant was “guilty beyond a reasonable doubt of securities fraud”); see also,

generally, United States v. Rajewski, 526 F.2d 149, 158 (7th Cir. 1975) (“It is

well settled that untrue exculpatory statements may be considered as

circumstantial evidence of the defendant’s consciousness of guilt.”).

      In sum, viewing the evidence in the light most favorable to the

government, and drawing all reasonable inferences in the government’s favor,

a rational jury clearly could have found Sargent engaged in insider trading.

      2.         The District Court Improperly Substituted Its Own
                 Judgment for that of the Jury.

      The district court erred in overturning the jury’s verdict. It improperly

set aside the jury’s determination that Klundt passed material, non-public

information about Chegg to Sargent during their May 1, 2020, phone call, and

that Klundt did that so Sargent could trade on the information.

            a.     The district court’s analysis failed to account for
                   important evidence relating to the May 1, 2020, phone
                   call.

      The district court stated that the tip from Klundt to Sargent would have

had to have taken place during the 4 and one-half minute phone call between

Klundt and Sargent on May 1, 2020, shortly after the Chegg internal meeting.



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RSA 5. The court concluded that “it is possible, even probable that Klundt

tipped Sargent” during that call. Id. at 7. But the court went on: “It is not an

inference that can be held with the certainty required for conviction” because

while “[t]he upcoming earnings call was on both of their minds . . . nothing in

the record suggested that Sargent trading in Chegg around the time of the

earnings call was some mutually shared topic.” Id.

      The district court’s assessment unreasonably discounts, and fails to

account for, important evidence presented at trial. Numerous pieces of direct

evidence showed that (1) Klundt and Sargent had discussed Chegg’s May 4

public earnings call even before the May 1 internal meeting; (2) Klundt was in

possession of material, non-public information about Chegg on May 1; (3)

Klundt and Sargent communicated shortly after Klundt came into possession

of the information; and (4) soon thereafter Sargent aggressively traded in

Chegg stocks and options. All of this evidence allowed a reasonable jury to

conclude—contrary to the district court’s assessment—that “Sargent trading

in Chegg around the time of the earnings call was some mutually shared topic.”

RSA 7.

      The district court stated that “[w]hen a chain of inferences is necessary

to establish a fact, each link in the chain must be ‘sufficiently strong’ to avoid

speculation.” RSA 4-5 (citing United States v. Jones, 713 F.3d 336, 340 (7th Cir.

2013)). In so doing, the district court suggested that the evidence laid out above

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merely represented a chain of inferences, each one tenuously building on the

other, before reaching a final, factual conclusion: that Klundt gave material,

non-public information to Sargent on May 1, 2020. This, however, is not such

a case.

      United States v. Jones concerned a defendant convicted of illegally

possessing cocaine and using a phone to facilitate the possession. There was no

direct evidence that defendant Jones possessed cocaine, and the intercepted

calls, some of which involved Jones, were not tied directly to cocaine

possession. This Court noted that “[e]ntirely circumstantial cases are not

unusual, of course, and they certainly can provide constitutionally sufficient

proof beyond a reasonable doubt.” Jones, 713 F.3d at 340. However, the

circumstantial evidence in Jones fell short because it depended on a chain of

inferences piled on top of one another and appeared to be driven by Jones’s

mere association with criminals. Id. at 347.

      Whatever the merits of the inferential chain in Jones, this case presents

a starkly different situation. Here, the jury here was asked to infer that, during

their May 1, 2020, call, Klundt, in fact, gave Sargent material, non-public

information about Chegg, based on numerous items of evidence—some direct,

other circumstantial—and not on a lengthy chain of otherwise unsupported

inferences.




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      The district court discounted the value of evidence of Sargent’s sudden

bullishness about Chegg by speculating that it could have “come from so many

different types of information, including public or immaterial information

about Chegg and the economy during the pandemic.” RSA 6. As discussed

above, the evidence presented at trial permitted the jury to infer that Sargent’s

sudden confidence was due to a disclosure of material, non-public information

by Klundt, rather than to generalized, publicly-available information.

      Primer referenced a 200% subscriber increase figure that Sargent

allegedly told him (which the jury could conclude was a reference to non-public

information Klundt learned internally at Chegg) but could not recall where

that figure came from. Primer also indicated he did not conduct any research

on Chegg, could not recall Sargent telling him he had read any of Chegg’s

fundamentals or earnings documentation, and that the men did not have a

general COVID-positive trading strategy at that time. See Tr. 640-641, 702.

      Sargent’s own options-trading expert testified that options trading

around the time of earnings announcements usually involved significant

research across a variety of factors and metrics, and that he was unaware of

Sargent conducting any. Tr. 1162-1164. Although defense counsel introduced

or referenced some articles suggesting possible long-term growth opportunities

for Chegg, the evidence established that Sargent actually reviewed at most one

of those articles before investing in Chegg; that the articles were far from

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categorically positive; and that they focused mostly on long-term, rather than

short-term growth potential. Consistent with that testimony, the government’s

expert testified that the trading volume and spike in price on May 5 suggested

the market was taken by surprise by the announcement. Tr. 550-551. This

evidence, together with Sargent’s decision to bet the entirety of his Roth IRA

and brokerage account on a company in which he had never previously

invested—and to purchase the riskiest out-of-the money options—all

supported the conclusion that Sargent’s purchases were based on inside

information rather than isolated publications or other publicly-available

information. The district court’s contrary conclusion substituted the court’s

judgment for the jury’s and reflected a failure to view the evidence in the light

most favorable to the verdict.

      Contrary to the district court’s suggestion, the timing of the events on

May 1 provided a strong basis for the jury to infer that Klundt passed inside

information to Sargent. May 1 was the Friday before the Monday afternoon

earnings call, and it was Primer who initiated the text communication with

Sargent that morning offering to discuss the Chegg position to take. G. Ex.

66A. Rather than speaking with Primer at that time, Sargent texted him to

say that he would be free to speak at about 1:00 p.m., which turns out to be

almost precisely the time that Chegg’s internal meeting ended. G. Ex. 66A, G.

Ex. 60. Telephone records show that Sargent and Klundt spoke on the phone

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for 4 and one-half minutes, beginning at 1:04 p.m. G. Ex. 60. A little more than

30 minutes after his call with Klundt ended—and without having spoken to

Primer following his call with Klundt—Sargent purchased the 271 shares of

Chegg stock with a market order when the price was about $42 per share,

which price was about $7 per share more than he was willing to pay for Chegg

stock shares about 10 days earlier. G. Ex. 60. The increase in Chegg’s share

price between April 21 and May 1 represented roughly about a 20% increase

in Chegg’s price; yet Sargent suddenly was willing to buy the company’s shares

with a market order. The jury rationally could conclude that Sargent’s more

aggressive position with respect to Chegg shares on May 1 was a function of

information he received from Klundt less than one hour earlier.

      The evidence showed that after Sargent purchased the 271 shares of

Chegg stock, he then had two telephone conversations with Primer—one at

1:58 p.m. and one at 2:40 p.m. G. Ex. 60. Then at 2:44 p.m., he purchased the

Chegg call options that were expiring in two weeks, G. Ex. 60, and many of

which were deeply out-of-the-money and required a sudden jolt in the stock

price to make the position profitable. Sargent’s sudden willingness—only after

he had spoken to Klundt—to make these purchases, demonstrated that he had

gained a level of confidence after 1:04 p.m. that he did not have before his call

with Klundt.    Finally, the district court improperly discounted the probative

value of Klundt’s concealment from FINRA, finding that it was not probative

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of the contents of the May 1 call because the concealment occurred more than

4 months later. RSA 6-7. As discussed above, concealment provides powerful

evidence of consciousness of guilt. Here, Klundt’s guilt rested on his disclosure

of material insider information to Sargent with knowledge or intent that

Sargent trade on it; evidence showing Klundt’s consciousness of guilt

supported an inference that Klundt actually engaged in such conduct. See

United States v. Harmon, 721 F.3d 877, 882 (7th Cir. 2013) (explaining that

consciousness of guilt raises an inference of actual guilt).

         b.    The district court undervalued the evidence of Klundt’s
               intent.

      Consistent with the jury instructions, in its post-trial ruling, the district

court noted that the government was required to show Klundt’s intent, i.e.,

that Klundt gave the material, non-public information so Sargent could trade

on it. On this aspect, the district court concluded that “the record is bereft of

evidence . . . of Klundt’s knowledge of Sargent’s plan to trade” and that “[t]he

emoji from Klundt is not enough to prove beyond a reasonable doubt that

Klundt knew Sargent was trading on Chegg.” RSA 7.

      The district court erred in determining that the emoji was not highly

probative of Klundt’s knowledge of Sargent’s intent to trade. Klundt testified

that the emoji reflected his own financial success, and both he and Sargent

advanced this argument during their closings. Tr. 887, 1306-07, 1351-53. As



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discussed above, the jury rationally could reject this argument, in light of the

evidence as a whole. As the government maintained during closing, the emoji

from Klundt was unsolicited, was sent with no explanation, and was not in

response to a prior text message. Tr. 1273-74; G. Ex. 8. Yet Sargent’s response

showed that Sargent knew that Klundt’s emoji referred to the Chegg earnings

call from a few hours earlier. In other words, the emoji, in combination with

Sargent’s response, show that Klundt knew Sargent would be listening to the

call and would understand Chegg’s positive announcement would result in a

large increase in Chegg’s stock price. Tr. 1274. In addition, Sargent’s response

to the emoji separately showed that Sargent knew what Klundt was conveying

with the emoji and that his understanding shows they had discussed the topic

in advance. Tr. 1274.

      The jury could rationally decide that Klundt was unlikely to have sent

this emoji to Sargent to boast about his own financial success as a result of the

earnings call for multiple reasons, including because much of Klundt’s equity

in Chegg was in the form of Chegg stock that had not yet vested and might not

be worth as much by the time those shares became vested. Tr. 1274-76. And

Klundt did not send texts about the Chegg earnings call to anyone other than

Sargent. Tr. 1275-76.

      The district court also failed to take into account evidence showing that

Klundt and Sargent specifically had discussed the upcoming earnings call. See

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G. Ex. 60; G. Ex. 8 (text message from Klundt to Sargent relaying date of

earnings call). That evidence supported a reasonable inference that Sargent

had expressed interest in trading around the time of the earnings call and that

Klundt—as a participant in that exchange—necessarily understood that to be

Sargent’s interest. To be sure, some other inference could have been drawn

about why Klundt and Sargent discussed the upcoming earnings call and/or

why Sargent was interested in Chegg’s May 4th earnings call. But no such

alternative theories appeared in the record, and in convicting Sargent, the jury

clearly did not find that Klundt had no knowledge of Sargent’s intent.

Moreover, the jury’s inference from the text message—that Klundt shared the

date of Chegg’s earnings call with Sargent because he knew Sargent was

interested in trading Chegg securities—was reasonable in light of other trial

evidence presented. As explained earlier, that evidence showed that on April

21, 2020, about an hour after getting the text message from Klundt with the

correct date of the Chegg earnings call, Sargent placed a limit order to

purchase 28 shares of Chegg’s stock. Tr. 373-76.

      The district court also failed to credit the evidence that Klundt lied to

FINRA. As discussed above, this evidence negated the possibility that Klundt

gave material, non-public information to Sargent by accident, and to show that

he knowingly disclosed insider information to Sargent with an illegal purpose.




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      The jury necessarily considered Klundt’s intent after having found that

Klundt gave Sargent material, non-public information. The evidence showed

that Klundt received several warnings from Chegg about the impropriety and

potential illegality of disclosing material, non-public information. These

warnings, together with the other evidence, provided a rational basis for a jury

to conclude that Klundt would not have undertaken these risks without a

purpose for Sargent to profit from the information.

      In granting Sargent’s post-trial motion, the district court impermissibly

spliced and diced the evidence—focusing on individual pieces of evidence

rather than reviewing the evidence as a whole. See United States v. Klein, 913

F.3d 73, 78-79 (2nd Cir. 2019) (explaining, in a securities fraud case, that “it is

essential to view the various pieces of evidence together”); Ortiz v. Werner

Enterprises, Inc., 834 F.3d 760, 765 (7th Cir. 2016) (“Evidence must be

considered as a whole, rather than asking whether any particular piece of

evidence proves the case by itself.”). The issue wasn’t whether the emoji, by

itself, proved Klundt’s state of mind beyond a reasonable doubt. The proper

approach was to consider whether the emoji, in conjunction with the

defendants’ friendship, the April 21 text message, the May 1 phone call, the

nature of Sargent’s trades, and the fact that Klundt was repeatedly warned

about the illegality of insider trading, supported the jury’s finding that Klundt




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passed material, non-public information to Sargent so that Sargent could trade

on it.10

       In the criminal context, inferring the mental state of a defendant is the

regular work of juries. For example, in the analogous context of schemes to

defraud, the Seventh Circuit has explained that “[d]irect evidence of an intent

to defraud is rare” and such intent “is typically shown by circumstantial

evidence and inferences drawn from the scheme itself.” See United States v.

Filer, 56 F.4th 421, 435 (7th Cir. 2022) (quotations and citation omitted). The

Supreme Court has similarly emphasized that the fact-finder can infer a

defendant’s mental state based on odd or suspicious circumstances. See Ruan

v. United States, 597 U.S. 450, 467 (2022) (“The Government, of course, can

prove knowledge of a lack of authorization through circumstantial evidence”

such as how odd or unreasonable was the defendant’s conduct); Rehaif v.

United States, 588 U.S. 225, 139 S. Ct. 2191, 2198 (2019) (similar); Liparota v.

United States, 471 U.S. 419, 434 (1985) (“Rather, as in any other criminal

prosecution requiring mens rea, the Government may prove by reference to



10 The district court also failed to take account of the jury’s apparent assessment of

Klundt’s credibility. For the jury to have convicted Sargent, it had to have found that
Klundt passed inside information to Sargent knowing that Sargent would trade on it.
Since Klundt testified that he did not recall his May 1 telephone conversation with
Sargent, but in any event would not have passed inside information to Sargent, one
must infer that the jury did not find Klundt to be credible—otherwise it would have
had to acquit Sargent.


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facts and circumstances surrounding the case that petitioner knew that his

conduct was unauthorized or illegal”). The district court’s decision to reject the

jury’s work in this case pays insufficient heed to this precedent.

         c.    The district court erred in determining that the
               evidence in this case was insufficient relative to the
               evidence presented in other securities fraud cases.

      The district court compared this case unfavorably with the First Circuit’s

decision in United States v. Chan, 981 F.3d 39 (1st Cir. 2020). RSA 7-8. In

Chan, the appeals court repeated the six-factor test it uses to assess the

sufficiency of evidence in insider trading cases, where a lack of direct evidence

establishing the disclosure of inside information is not uncommon. Those

factors are: “(1) access to information; (2) relationship between the tipper and

the tippee; (3) timing of contact between the tipper and the tippee; (4) timing

of the trades; (5) pattern of the trades; and (6) attempts to conceal either the

trades or the relationship between the tipper and the tippee.” Chan, 981 F.3d

at 57 (quoting United States v. Larrabee, 240 F.3d 18, 21-22 (1st Cir. 2001)).

See also United States v. Bhagat, 436 F.3d 1140, 1149 (9th Cir. 2006)(also

citing to Larrabee and its relevant factors).

      The court discounted all of this evidence simply on its view that the

factors’ universal presence does not show that “the quantum of evidence” rose

to the level of certainty required for conviction. RSA 8. But these factors are

intended to guide a court’s “examination of whether there was sufficient


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evidence to support a conviction for securities fraud under” a theory that a

tipper misappropriated insider information. Chan, 981 F.3d at 57 (“When we

examine the evidence in this case, we find each of the six . . . factors is in fact

met, especially given the uphill climb the defendants have when moving for a

judgment of acquittal because we examine the evidence in the light most

favorable to the prosecution.”). Here, the district court acknowledged the

presence of all six Chan factors, most of which, notably, were established by

uncontroverted evidence.

      The district court sought to distinguish Chan, describing the facts of that

case as “weightier.” RSA 8. Specifically, the court focused on the fact that, in

Chan, “[t]here were mutual trades, money passing between the two

defendants, and the concealment was more nefarious.” Id. Contrary to the

court’s assessment, the absence of mutual trades or money passing between

Klundt and Sargent did not make Klundt’s concealment less nefarious or

otherwise undermine the evidence of Sargent’s guilt. There is no requirement

that a tipper received a “personal benefit” of a pecuniary nature in return for

providing valuable inside information; all that must be shown is that the tip

was made with the intent to benefit the particular recipient. See Salman v.

United States, 580 U.S. 39, 48-50 (2016) (citing Dirks v. SEC, 463 U.S. 646

(1983)). The undisputed evidence in this case showed that Klundt and Sargent

had a close, longtime personal friendship, as well as a prior business

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partnership, and the jury could reasonably infer that Klundt would wish to see

Sargent benefit from the rise in share value that could be anticipated based on

the insider information he shared with Sargent—and that Klundt would have

no trouble recognizing Sargent’s name on the list circulated as part of the

FINRA inquiry. See 981 F.3d at 59.

      In addition, contrary to the district court’s assessment, the evidence here

is stronger than it was in Chan with respect to the timing of the Sargent’s stock

purchases, which occurred immediately after his May 1, 2020, call with Klundt

and Klundt’s receipt of highly positive inside information at an internal Chegg

meeting.

      As the First Circuit noted in Chan:

      [T]here are dozens of pieces to the puzzle of whether the evidence
      presented in this case will, when assembled, … create a picture
      that supports the inference the defendants committed securities
      fraud. While we are missing a few pieces, such as the words on a
      screen or a transcript of a phone call where Wang told Chan to
      purchase shares in Merrimack, the evidence indicating Wang had
      MNPI about the NAPOLI-1 study from November 2013 through
      April 2014 and Chan’s frequent purchases of shares of Merrimack
      stock during this same time period, coupled with the evidence of
      bank activity -- the withdrawals and deposits and transfers -- fit
      neatly together, particularly when that puzzle is being assembled
      on a table with explicit instructions to construe the evidence in the
      light most favorable to the prosecution. As we have mentioned
      already, Chan placed his largest order of Merrimack shares two
      days after Wang received the final data for the NAPOLI-1 study
      for analysis. Even though the puzzle is missing a few pieces, the
      big picture allowed a reasonable jury to conclude each defendant
      was guilty beyond a reasonable doubt of securities fraud, as
      charged in Count Two.

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Id. at 59 (quotations, alteration, and citation omitted). Here, the undisputed

evidence was that all six of the factors identified in Chan were present,

demonstrating that the properly instructed jury in this case could reasonably

find the elements of the charged offenses beyond a reasonable doubt.

      Although the district court acknowledged the value of circumstantial

evidence as a general matter, its analysis effectively imposed, contrary to

settled law, a requirement that each element of the offense be proven with

direct—rather than circumstantial—evidence. This was error. See, e.g., Jones,

713 F.3d at 340 (“Entirely circumstantial cases are not unusual, of course, and

they certainly can provide constitutionally sufficient proof beyond a reasonable

doubt.”).

      In fact, federal appellate courts consistently have upheld jury verdicts in

insider trading cases against sufficiency challenges, based on circumstantial

evidence. See Bhagat, 436 F.3d at 1149 (affirming securities fraud conviction

where “Bhagat and Gill were friends; Bhagat had provided inside information

to his real estate broker, with whom he shared a more distant relationship;

Gill purchased stock shortly after Bhagat; and Gill’s purchase was his largest

purchase of the year.”); Larrabee, 240 F.3d at 22-23 (affirming insider trading

conviction where the government lacked direct evidence that tipper had access

to inside information but “had the opportunity to access the information” and

there was no direct evidence of what occurred during the call between tipper

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and tippee); United States v. Heron, 323 F. App’x 150, 156 (3d Cir. 2009)

(unpublished) (reversing judgment of acquittal and explaining that “[s]tanding

alone, Heron’s trading pattern, which involved an investment of the majority

of his annual take-home pay, might be sufficient for a jury to infer guilt” but

noting the government presented other circumstantial evidence of the insider’s

access to quarterly earnings); United States v. Henke, 222 F.3d 633, 639 (9th

Cir. 2000) (upholding a jury conviction of insider trading based on “overall

pattern of trading”). These cases and others like them make clear that the

elements of insider trading fraud may be proven with circumstantial evidence,

as well as that the jury’s verdict in this case was supported by sufficient

evidence.

      The district court erred in overturning the jury’s rational verdict, which

was supported by ample evidence, and its judgment should be reversed.




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      3.       The Jury’s Verdict Convicting Sargent of Securities Fraud
               Was Not Contrary to the Weight of the Evidence and Did
               Not Warrant a New Trial.

      After discussing the evidence and granting defendant’s motion for

judgment of acquittal under Rule 29, the district court only briefly addressed

defendant’s motion for a new trial under Rule 33, granting it “because the

evidence in the light most favorable to the government cannot sustain a

conviction,” and in the alternative because “the verdict is so contrary to the

weight of the evidence that a new trial is required in the interests of justice.”

RSA 9. The district court’s decision to grant a new trial was based entirely on

its analysis of the evidence under Rule 29.

      As explained above, much of the evidence at trial was undisputed. The

record is clear that Klundt obtained material, non-public information on May

1, that he spoke to Sargent about 30 minutes later, that within the next couple

hours Sargent took aggressive bets on Chegg securities that he was not willing

to make just 10 days earlier, that Sargent and Primer were expecting certain

information to be announced during the May 4 earnings call, that Klundt and

Sargent exchanged texts about the May 4 Chegg earnings announcement a few

hours after it occurred, and that Klundt, at the very least, failed to report to

FINRA his familiarity with Sargent. This was more than sufficient evidence

for a rational jury to have convicted Sargent.




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       The district court gave no explanation for why, in the alternative, the

verdict was so contrary to the weight of the evidence that a new trial was

required in the interests of justice. The district court’s decision on the motion

for a new trial was apparently derivative of its findings on the motion for

judgment of acquittal. For the same reasons that the district court erred in

determining that the evidence was insufficient to permit a reasonable jury to

find the essential elements of the charged offenses beyond a reasonable doubt,

the court abused its discretion in determining that a new trial was warranted

in the interest of justice.

                                CONCLUSION

      For the foregoing reasons, this Court should reverse the district court’s

judgment granting of Sargent’s motion for judgment of acquittal and,

alternatively, his motion for new trial, and reinstate the verdict of guilty

against Sargent.

                                        Respectfully submitted.

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                               RULE 32 CERTIFICATION

I hereby certify that:

      1. This brief complies with the type volume limitation of Federal Rules

of Appellate Procedure 32(a)(7)(B) because it contains 11,005 words.

      2. This brief complies with the typeface and type-style requirements of

Federal Rules of Appellate Procedure 32(a)(5), 32(a)(6), and Circuit Rule 32(b),

because it has been prepared using the Microsoft Office Word proportionally-

spaced typeface of Century Schoolbook with 13-point font in the text and 12-

point font in the footnotes.



                                       Respectfully submitted.

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                                   In the
      UNITED STATES COURT OF APPEALS
                        for the Seventh Circuit


                            No. 24-1102

UNITED STATES OF AMERICA,

                                                           Plaintiff-Appellant,
                                     v.

DAVID SARGENT,

                                                          Defendant-Appellee.

            On Appeal from the United States District Court
         for the Northern District of Illinois, Eastern Division.
                No. 22 CR 15 — Manish S. Shah, Judge.


   SHORT APPENDIX OF THE UNITED STATES

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05      -=Iÿ8CFÿ%F9F7L578M ÿ QQ$XM!ÿ$ÿ'0*),ÿ<-ÿ*),")$"%'.#(+!3%,$$)ÿ)*ÿ#+<3ÿ.B()!ÿ+[,ÿ0(()!+!+-
06                                       \*?Cÿ6'D=5PE8=1CÿÿY"54D4O6F7I=ÿ6%;ÿIÿ6U:JF1UÿJ'UP68Fÿ?UJJ
07                                         WK?>2ÿ>?>AVTVK
08                                         #Q(XM-ÿ#ÿÿ0''#<$ÿ#*#(")!."Xÿ'(ÿ<[ÿÿ*,,++.*.)"+'!#$)1ÿ.<.<3<
19                                        ?*?C?6ÿD$55E;=18ÿÿY"54D4O6F7I=ÿ6%;ÿIÿ6U:JF1UÿJ'?P68Fÿ>]JJ
10                                          WK?>2ÿ]KUAV?@]ÿ
11
12                                *+..$+$9!9ÿ60D<6ÿ5*4+ÿ!*Y=(PXI18ÿÿ*)'F)^1=ÿI)80F)I1ÿ*))
13                              >?Tÿ'=*PC86CÿD%5FE5=1IÿH"=4I47ÿ6'78=I6F;ÿFÿ8U1ÿJ)U=J=VGÿ?T?]
14                                              W K ? > 2 ÿ V K @ A
                                 _`aabbcd_`cefghiacjklm_`lnomkp`qÿÿ @ @ T  V

                                    ÿÿ ÿ ÿ ÿ                                        RSA 3
     WXYZ[ÿ][^^_`a_bbb]cÿde`fgZhiÿj[ÿ]]kÿlmnZo[ÿ]^p^]p^kÿqXrZÿ^ÿesÿtÿqXrZudÿj[^vbt
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 0            !"#"$%&$'ÿ)*"+"$',ÿÿ-*./""%0$1+ÿ2"&*%ÿ0$ÿ.)"$ÿ/.3*'45
 1                678ÿ9:8;<4ÿÿ==ÿ9;ÿ>?@ÿA$0'"%ÿB'&'"+ÿC"*+3+ÿB&*1"$',ÿ
 2                678ÿ9DA;64ÿÿE.3ÿ/&$ÿ+'&Fÿ+"&'"%,ÿ
 3                G;,ÿH8668;4ÿÿH..%ÿI.*$0$1@ÿE.3*ÿ7.$.*,ÿÿG&''ÿH"''"*ÿ
 4      &$%ÿJ0K&+ÿ!0%L&$0&ÿ.$ÿM"2&N#ÿ.#ÿ'2"ÿA$0'"%ÿB'&'"+,ÿ
 5                G;,ÿH;D7GOP4ÿÿH..%ÿI.*$0$1@ÿE.3*ÿ7.$.*,ÿÿ92*0+ÿ
 6      H*.2I&$ÿ&$%ÿ9&*NFÿ92./*.$ÿ.$ÿM"2&N#ÿ.#ÿ!&C0%ÿB&*1"$'@ÿL2.Q+ÿ
 7      )*"+"$',ÿ
 8                678ÿ9DA;64ÿÿG*,ÿB&*1"$'ÿ0+ÿ)*"+"$',ÿ
09                H..%ÿI.*$0$1@ÿG*,ÿB&*1"$',ÿ
00                678ÿ!8R8P!OP64ÿÿH..%ÿI.*$0$1,ÿ
01                678ÿ9DA;64ÿÿ62&$KÿF.3ÿ#.*ÿF.3*ÿ)&'0"$/"ÿL20N"ÿSÿ2&%ÿ
02      '2"ÿI.'0.$+ÿ3$%"*ÿ&%C0+"I"$',ÿÿSÿ/&$ÿ10C"ÿF.3ÿ'2"ÿ*3N0$1ÿ$.L,ÿ
03                S$ÿI.+'ÿ/&+"+@ÿ0'Q+ÿ$.'ÿ%0##0/3N'ÿ'.ÿ%0+'0$130+2ÿ
04      *"&+.$&MN"ÿ0$#"*"$/"+ÿ#*.Iÿ+)"/3N&'0.$,ÿÿ-*..#ÿM"F.$%ÿ&ÿ
05      *"&+.$&MN"ÿ%.3M'ÿ/&$ÿ*"+'ÿ.$ÿ/0*/3I+'&$'0&Nÿ"C0%"$/",ÿÿ
06                6.ÿM.**.Lÿ'2"ÿ"T&I)N"ÿ'2&'ÿL"ÿ3+"ÿ0$ÿ'2"ÿU3*Fÿ
07      0$+'*3/'0.$+@ÿ&ÿU3*Fÿ/&$ÿM"ÿ/.$C0$/"%ÿ'2&'ÿ0'ÿL&+ÿ*&0$0$1ÿ#*.Iÿ
08      '"+'0I.$Fÿ.#ÿ&ÿL0'$"++ÿL2.ÿ+&Lÿ+.I".$"ÿ"$'"*0$1ÿ&ÿ*..Iÿ/&**F0$1ÿ
19      &ÿL"'ÿ3IM*"NN&,ÿÿG&FM"ÿ'2"ÿ)"*+.$ÿL0'2ÿ'2"ÿ3IM*"NN&ÿL&+ÿ3+0$1ÿ
10      0'ÿ&+ÿ+2&%"ÿ#*.Iÿ'2"ÿ+3$ÿL2"$ÿ'2"Fÿ1.'ÿ20'ÿL0'2ÿ&ÿ+)*0$KN"*@ÿ
11      M3'ÿ'2&'ÿ/.I)"'0$1ÿ0$#"*"$/"ÿ0+ÿ$.'ÿI.*"ÿ*"&+.$&MN"ÿ'2&$ÿ'2"ÿ
12      .'2"*,ÿÿO$%ÿ0#ÿ'2"ÿU3*Fÿ/&$ÿ%*&Lÿ&$ÿ0$#"*"$/"ÿ*"&+.$&MNF@ÿ'2"ÿ
13      0$#"**"%ÿ#&/'ÿ/&$ÿM"ÿ"+'&MN0+2"%ÿM"F.$%ÿ&ÿ*"&+.$&MN"ÿ%.3M',ÿ
14                V2"$ÿ&ÿ/2&0$ÿ.#ÿ0$#"*"$/"+ÿ0+ÿ$"/"++&*Fÿ'.ÿ"+'&MN0+2ÿ

                            ÿÿ ÿ ÿ ÿ                   RSA 4
     ijklmÿomppqrsqtttouÿvwrxylz{ÿ|mÿoo}ÿ~lmÿoppop}ÿjlÿ}ÿwÿÿjlvÿ|mpot
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 0       ÿ"#$%ÿ&#'ÿ()*+ÿ)*ÿ$'&ÿ#')*ÿ,-.$ÿ/&ÿ0.-"")#)&*$(1ÿ.$23*40ÿ$3ÿ
 1       53)6ÿ.7&#-($)3*8ÿÿ9:;<=>ÿ@<A<=BÿCDÿEF:=B%ÿGHIÿJ8I6ÿIIK%ÿILMÿ
 2      NGOPÿQ)2#-)$ÿRMHIS8ÿÿT'&ÿU&)4'$ÿ3"ÿ$'&ÿ&5)6&*#&%ÿ*6ÿ$'&ÿ
 3      .$2&*4$'ÿ3"ÿ$'&ÿ)*"&2&*#&%ÿ).ÿ(&"$ÿ$3ÿ$'&ÿV-21%ÿ/-$ÿ0$'&ÿV-64&ÿ
 4      ).ÿ.$)((ÿ2&.73*.)/(&ÿ"32ÿ&*"32#)*4ÿ$'&ÿ3-$&2ÿ(),)$.ÿ3*ÿ
 5      2&.3*/(&ÿ)*"&2&*#&.%ÿ4-)6&6ÿ/1ÿ$'&ÿ2&(&5*$ÿ.$*626ÿ3"ÿ
 6      7233"80ÿÿ9:;<=>ÿ@<A<=BÿCDÿWAXY;A%ÿZHZÿJ8I6ÿL[Z%ÿLZGÿNGOPÿQ)2#-)$ÿ
 7      RMHZS8ÿÿ\*ÿ#2),)*(ÿ#.&.%ÿ$'&ÿ02&]-)2&6ÿ6&42&&ÿ3"ÿ#&2$)*$10ÿ
 8      ).%ÿ3"ÿ#3-2.&%ÿ/&13*6ÿÿ2&.3*/(&ÿ63-/$8ÿÿ9:;<=>ÿ@<A<=BÿCDÿ
09      ^__=:%ÿI[IÿJ8I6ÿKLL%ÿKLZÿNGOPÿQ)2#-)$ÿRMMLS8ÿ
00                 `'&*ÿ&5(-$)*4ÿa28ÿb24&*$c.ÿ,3$)3*ÿ"32ÿ*ÿ#]-)$$(ÿ
01      -*6&2ÿd-(&ÿRZ%ÿ\ÿ5)&Uÿ$'&ÿ&5)6&*#&ÿ)*ÿ$'&ÿ()4'$ÿ,3.$ÿ"532/(&ÿ
02      $3ÿ$'&ÿ435&2*,&*$8ÿÿeÿV-21c.ÿ5&26)#$ÿ.'3-(6ÿ/&ÿ35&2$-2*&6ÿ3*(1ÿ
03      U'&*ÿ$'&ÿ2&#326ÿ#3*$)*.ÿ*3ÿ&5)6&*#&%ÿ2&426(&..ÿ3"ÿ'3Uÿ)$ÿ).ÿ
04      U&)4'&6%ÿ"23,ÿU')#'ÿ$'&ÿ"#$")*6&2ÿ#3-(6ÿ")*6ÿ4-)($ÿ/&13*6ÿÿ
05      2&.3*/(&ÿ63-/$8ÿÿ9:;<=>ÿ@<A<=BÿCDÿfAX>%ÿGIÿJ8L$'ÿLKL%ÿLGZÿNGOPÿ
06      Q)2#-)$ÿRMRIS8ÿ
07                 T3ÿ")*6ÿa28ÿb24&*$ÿ4-)($1%ÿÿV-21ÿU3-(6ÿ'5&ÿ$3ÿ")*6ÿ
08      /&13*6ÿÿ2&.3*/(&ÿ63-/$ÿ$'$ÿ$'&ÿ)*.)6&2%ÿa28ÿg(-*6$%ÿ
19      6).#(3.&6ÿ,$&2)(%ÿ*3*7-/()#ÿ)*"32,$)3*ÿ$3ÿb24&*$ÿ.3ÿ$'$ÿ
10      b24&*$ÿ#3-(6ÿ$26&ÿ-.)*4ÿ$'&ÿ)*"32,$)3*8ÿÿT'&ÿ3*(1ÿ
11      37732$-*)$1ÿ"32ÿg(-*6$ÿ$3ÿ$)7ÿb24&*$%ÿ#3*.).$&*$ÿU)$'ÿ$'&ÿ
12      &5)6&*#&%ÿU.ÿ6-2)*4ÿÿ"3-2h*6hh'("h,)*-$&ÿ7'3*&ÿ#((ÿ3*ÿa1ÿ
13      H.$8ÿÿT3ÿ")*6ÿa28ÿb24&*$ÿ4-)($1%ÿÿV-21ÿU3-(6ÿ'5&ÿ$3ÿ/&ÿ
14      #3*5)*#&6ÿ/&13*6ÿÿ2&.3*/(&ÿ63-/$ÿ$'$ÿg(-*6$ÿ$)77&6ÿb24&*$ÿ

                            ÿÿ ÿ ÿ ÿ                  RSA 5
     KLMNOÿQORRSTUSVVVQWÿXYTZ[N\]ÿ^OÿQQ_ÿ̀abNcOÿQRdRQdR_ÿeLfNÿgÿYhÿiÿeLfNjXÿ^ORkQQ
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 0       !ÿ#$%#ÿ&$'!(ÿ)%**+
 1                ,$(-(ÿ.ÿ./.&)'/.ÿ(01(!)(ÿ./--'/!1!2ÿ#$(ÿ&$'!(ÿ
 2      )%**+ÿÿ,$(ÿ3*/!1#ÿ%!1ÿ4%-2(!#ÿ5%6*(.ÿ.&'7(ÿ8(5'-(ÿ#$(ÿ
 3      (%-!!2.ÿ%!!'/!)(6(!#+ÿÿ3*/!1#ÿ%*(-#(1ÿ4%-2(!#ÿ#'ÿ#$(ÿ1%9ÿ%!1ÿ
 4      #6(ÿ'5ÿ#$(ÿ(%-!!2.ÿ%!!'/!)(6(!#+ÿÿ4%-2(!#ÿ$%1ÿ)'!0(9(1ÿ#'ÿ
 5      :-6(-ÿ.'6(ÿ.&()5)ÿ)'!51(!)(ÿ!ÿ;$(22<.ÿ'!*!(ÿ)/.#'6(-ÿ
 6      (!2%2(6(!#+ÿÿ=5#(-ÿ#$(ÿ(%-!!2.ÿ)%**ÿ%!1ÿ#$(ÿ6%-7(#ÿ-(%)#'!>ÿ
 7      3*/!1#ÿ.(!#ÿ4%-2(!#ÿ%!ÿ/!/./%*ÿ#(?#ÿ6(..%2(>ÿ#$(ÿ1'**%-ÿ.2!ÿ
 8      (6'@>ÿ.'6(#$!2ÿ3*/!1#ÿ$%1!<#ÿ.(!#ÿ#'ÿ%!9'!(ÿ(*.(+ÿÿ4%-2(!#<.ÿ
09      -(.&'!.(ÿA%.ÿ#'ÿ)'!2-%#/*%#(ÿ3*/!1#ÿ'!ÿ#$(ÿB/%-#(->ÿ)'!5-6!2ÿ
00      #$%#ÿ#$(ÿ(6'@ÿA%.ÿ%ÿ-(5(-(!)(ÿ#'ÿ#$(ÿ0%*/(ÿ'5ÿ;$(22ÿ.#')7+ÿ
01      C(5'-(ÿ#$(ÿ(%-!!2.ÿ)%**>ÿ4%-2(!#ÿ(?&-(..(1ÿ%!ÿ!#(-(.#ÿ!ÿ
02      8/9!2ÿ;$(22ÿ#'ÿ:-6(->ÿ8/#ÿ&*%)(1ÿ%ÿ*6#ÿ'-1(-ÿ!ÿ=&-*ÿ#$%#ÿ
03      A%.ÿ!'#ÿ%.ÿ)'!51(!#ÿ!ÿ;$(22<.ÿ&-'.&()#.ÿ%.ÿ#$(ÿ'-1(-.ÿ#$%#ÿ
04      4%-2(!#ÿ%!1ÿ:-6(-ÿ&*%)(1ÿ5'-ÿ4%-2(!#<.ÿ%))'/!#ÿ'!ÿD%9ÿE.#+
05                F(A!2ÿ#$(ÿ(01(!)(ÿ!ÿ#$(ÿ*2$#ÿ6'.#ÿ5%0'-%8*(ÿ#'ÿ
06      #$(ÿ2'0(-!6(!#>ÿ%ÿ@/-9ÿ)'/*1ÿ-(%.'!%8*9ÿ!5(-ÿ#$%#ÿ4%-2(!#ÿ
07      8()%6(ÿ6'-(ÿ!#(-(.#(1ÿ%!1ÿ6'-(ÿ&'.#0(ÿ%8'/#ÿ#-%1!2ÿ!ÿ
08      ;$(22>ÿ6'-(ÿ8/**.$ÿ'!ÿ;$(22>ÿ%5#(-ÿ$.ÿ)%**ÿA#$ÿ3*/!1#+ÿÿC/#ÿ
19      #$(ÿ8%..ÿ5'-ÿ#$%#ÿ8/**.$!(..ÿ)'/*1ÿ)'6(ÿ5-'6ÿ.'ÿ6%!9ÿ
10      155(-(!#ÿ#9&(.ÿ'5ÿ!5'-6%#'!>ÿ!)*/1!2ÿ&/8*)ÿ'-ÿ66%#(-%*ÿ
11       !5'-6%#'!ÿ%8'/#ÿ;$(22ÿ%!1ÿ#$(ÿ()'!'69ÿ1/-!2ÿ#$(ÿ&%!1(6)>ÿ
12      #$%#ÿ%ÿ@/-9ÿA'/*1ÿ$%0(ÿ#'ÿ2/(..ÿ#$%#ÿ3*/!1#ÿ1.)*'.(1ÿ6%#(-%*>ÿ
13       !.1(ÿ!5'-6%#'!+ÿÿF(A!2ÿ#$(ÿ(01(!)(ÿ!ÿ#$(ÿ2'0(-!6(!#<.ÿ
14      5%0'->ÿ3*/!1#ÿ)'!)(%*(1ÿ$.ÿ7!'A*(12(ÿ'5ÿ4%-2(!#ÿ5-'6ÿGHIJ=+ÿÿ

                            ÿÿ ÿ ÿ ÿ                   RSA 6
     bcdefÿhfiijkljmmmhnÿopkqrestÿufÿhhvÿwxyezfÿhi{ih{ivÿ|c}eÿnÿp~ÿÿ|c}eoÿufihi
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 0       !"ÿ"$%"ÿ&'ÿ()"ÿ*+),%"&-.ÿ)/ÿ01!(2"3'ÿ4()51.26.ÿ)(ÿ7%8ÿ9'":ÿ
 1      "$%"ÿ;%+6.("ÿ5%'ÿ6)&(6ÿ")ÿ"+%2.ÿ,%'.2ÿ)(ÿ&('&2.ÿ&(/)+<%"&)(ÿ
 2      2&'=1)'.2ÿ,8ÿ01!(2"ÿ)(ÿ7%8ÿ9'">ÿÿ?$.ÿ1%".+ÿ=)(=.%1<.("ÿ/+)<ÿ
 3      @ABCDÿ2).'ÿ()"ÿ%11)5ÿ%ÿE!+8ÿ")ÿ"%4.ÿ"$.ÿ'!'*&=&)!'ÿ"&<&(6ÿ)/ÿ
 4      "$.ÿ=%11ÿ%(2ÿ&(/.+ÿ"$.ÿ=)(".("ÿ)/ÿ"$%"ÿ=%11ÿ,.8)(2ÿ%ÿ+.%')(%,1.ÿ
 5      2)!,">ÿ
 6                A"ÿ&'ÿ*)''&,1.:ÿ.-.(ÿ*+),%,1.ÿ"$%"ÿ01!(2"ÿ"&**.2ÿ
 7      ;%+6.(">ÿÿ!"ÿ&"ÿ&'ÿ()"ÿ%(ÿ&(/.+.(=.ÿ"$%"ÿ=%(ÿ,.ÿ$.12ÿ5&"$ÿ"$.ÿ
 8      =.+"%&("8ÿ+.F!&+.2ÿ/)+ÿ=)(-&="&)(>ÿÿ?$.+.ÿ&'ÿ()ÿ.-&2.(=.ÿ"$%"ÿ
09      01!(2"ÿ5%'ÿ%5%+.ÿ)/ÿ;%+6.("3'ÿ"+%2&(6ÿ*+%="&=.'>ÿÿ?$.ÿ!*=)<&(6ÿ
00      .%+(&(6'ÿ=%11ÿ5%'ÿ)(ÿ,)"$ÿ)/ÿ"$.&+ÿ<&(2':ÿ,!"ÿ()"$&(6ÿ&(ÿ"$.ÿ
01      +.=)+2ÿ'!66.'".2ÿ"$%"ÿ;%+6.("ÿ"+%2&(6ÿ&(ÿG$.66ÿ%+)!(2ÿ"$.ÿ"&<.ÿ
02      )/ÿ"$.ÿ.%+(&(6'ÿ=%11ÿ5%'ÿ')<.ÿ<!"!%118ÿ'$%+.2ÿ")*&=>
03                B)"ÿ)(18ÿ5%'ÿ%ÿE!+8ÿ+.F!&+.2ÿ")ÿ/&(2ÿ"$%"ÿ01!(2"ÿ
04      2&'=1)'.2ÿ()(*!,1&=:ÿ<%".+&%1ÿ&(/)+<%"&)(:ÿ,!"ÿ%ÿE!+8ÿ5)!12ÿ
05      $%-.ÿ")ÿ%1')ÿ/&(2ÿ"$%"ÿ01!(2"ÿ2&2ÿ')ÿ')ÿ"$%"ÿ;%+6.("ÿ=)!12ÿ
06      "+%2.ÿ)(ÿ&">ÿÿ?$.ÿ+.=)+2ÿ&'ÿ,.+./"ÿ)/ÿ.-&2.(=.ÿ/)+ÿ"$%"ÿ%22.2ÿ
07      1%8.+ÿ)/ÿ01!(2"3'ÿ4()51.26.ÿ)/ÿ;%+6.("3'ÿ*1%(ÿ")ÿ"+%2.>ÿÿ?$.ÿ
08      .<)E&ÿ/+)<ÿ01!(2"ÿ&'ÿ()"ÿ.()!6$ÿ")ÿ*+)-.ÿ,.8)(2ÿ%ÿ+.%')(%,1.ÿ
19      2)!,"ÿ"$%"ÿ01!(2"ÿ4(.5ÿ;%+6.("ÿ5%'ÿ"+%2&(6ÿ)(ÿG$.66>ÿ
10                ?$.ÿ/%=")+'ÿ&(ÿHIJKLMÿOKPKLQÿRSÿTUPI:ÿGV$V%V(:ÿWX9ÿ
11      @>Y2ÿYW:ÿZ[ÿ\9]^ÿG&+=!&"ÿ_`_`aÿ%+.ÿ$.1*/!1>ÿÿ01!(2"ÿ$%2ÿ%==.''>ÿÿ
12      01!(2"ÿ%(2ÿ;%+6.("ÿ$%2ÿ%ÿ/+&.(218ÿ+.1%"&)('$&*>ÿÿ?$.ÿ"&<&(6ÿ)/ÿ
13      "$.ÿ*$)(.ÿ=%11ÿ5%'ÿ+&6$"ÿ/)+ÿ%ÿ2&'=1)'!+.ÿ)/ÿ&('&2.:ÿ<%".+&%1ÿ
14      &(/)+<%"&)(>ÿÿ;%+6.("3'ÿ"+%2.'ÿ=%<.ÿ)(ÿ"$.ÿ$..1'ÿ)/ÿ$&'ÿ=)("%="ÿ

                            ÿÿ ÿ ÿ ÿ                   RSA 7
     KLMNOÿQORRSTUSVVVQWÿXYTZ[N\]ÿ^OÿQQ_ÿ̀abNcOÿQRdRQdR_ÿeLfNÿgÿYhÿiÿeLfNjXÿ^ORgQ_
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 0       !"#ÿ%&'()"*ÿÿ+#,ÿ-."",/(ÿ01ÿ#!2ÿ"/.),2ÿ2'33,2"2ÿ4./3,("ÿ1,&"ÿ
 1      50/,ÿ60(1!),("ÿ.1",/ÿ#!2ÿ6.&&ÿ"#.(ÿ7,10/,*ÿÿ8()ÿ%&'()"ÿ05!"",)ÿ
 2      #!2ÿ/,&."!0(2#!-ÿ"0ÿ4./3,("ÿ#,(ÿ.29,)*ÿ
 3                :'"ÿ"#,ÿ-/,2,(6,ÿ01ÿ1.6"0/2ÿ)0,2(;"ÿ",&&ÿ'2ÿ#,"#,/ÿ
 4      "#,ÿ<'.("'5ÿ01ÿ"#,ÿ,=!),(6,ÿ!(ÿ"#!2ÿ6.2,ÿ2'--0/"2ÿ"#,ÿ&,=,&ÿ01ÿ
 5      6,/".!(">ÿ/,<'!/,)ÿ10/ÿ60(=!6"!0(*ÿÿ+#,ÿ1.6"2ÿ!(ÿ?@ABÿ,/,ÿ
 6       ,!3#"!,/*ÿÿ+#,/,ÿ,/,ÿ5'"'.&ÿ"/.),2Cÿ50(,>ÿ-.22!(3ÿ7,",,(ÿ"#,ÿ
 7      "0ÿ),1,().("2Cÿ.()ÿ"#,ÿ60(6,.&5,("ÿ.2ÿ50/,ÿ(,1./!0'2*ÿÿ+#,/,ÿ
 8       .2ÿ(0ÿ60(6,.&5,("ÿ7>ÿD/*ÿ4./3,("ÿ#,/,*ÿ
09                8&"#0'3#ÿEÿ.5ÿ60(1!),("ÿ"#."ÿ"#,ÿF'/>ÿ.2ÿ-/0-,/&>ÿ
00      !(2"/'6",)ÿ.()ÿ"#,ÿ,=!),(6,ÿ7,10/,ÿ!"ÿ.2ÿ-/0-,/&>ÿ.)5!"",)Cÿ
01      !(6&')!(3ÿ"#,ÿ-/,-0(),/.(6,ÿ01ÿ"#,ÿ,=!),(6,ÿ"0ÿ2'--0/"ÿ"#,ÿ
02      .)5!22!7!&!">ÿ01ÿ60G60(2-!/."0/ÿ2".",5,("2CÿEÿ)0ÿ60(6&'),ÿ"#."ÿ
03      "#!2ÿ.2ÿ"#,ÿ/./,ÿ.()ÿ'('2'.&ÿ6.2,ÿ"#."ÿ1,&&ÿ2#0/"ÿ01ÿ"#,ÿ
04      (,6,22./>ÿ!(1,/,(6,ÿ7,>0()ÿ.ÿ/,.20(.7&,ÿ)0'7"Cÿ.()ÿEÿ3/.("ÿ"#,ÿ
05      ),1,().(";2ÿ50"!0(ÿ'(),/ÿH'&,ÿIJ*ÿ
06                Eÿ/,F,6"ÿ"#,ÿ0"#,/ÿ./3'5,("2ÿ/.!2,)ÿ7>ÿ"#,ÿ),1,(2,*ÿÿ
07      +#,ÿ!(60(2!2",(6>ÿ7,",,(ÿ.(ÿ.6<'!"".&ÿ10/ÿ%&'()"ÿ.()ÿ.ÿ
08      60(=!6"!0(ÿ10/ÿ4./3,("ÿ!2ÿ(0"ÿ0(,ÿ"#."ÿ/,<'!/,2ÿ0/ÿ),5.()2ÿ
19      60//,6"!0(*ÿÿ+#,ÿF'/>ÿ.2ÿ"0&)ÿ"0ÿ60(2!),/ÿ,.6#ÿ),1,().("ÿ
10      2,-./.",&>*ÿÿ8()ÿECÿ"00Cÿ,=.&'.",ÿ"#,ÿ6.2,ÿ.3.!(2"ÿ4./3,("ÿ
11      2,-./.",&>Cÿ!"#0'"ÿ/,3./)ÿ"0ÿ"#,ÿF'/>;2ÿ=,/)!6"ÿ.3.!(2"ÿ
12      %&'()"*ÿÿ8&"#0'3#ÿ"#,ÿ"/!.&2ÿ,/,ÿ2!5'&".(,0'2Cÿ"#,ÿ),1,().("2ÿ
13       ,/,ÿ60(2!),/,)ÿ2,-./.",&>Cÿ20ÿ!"ÿ.2ÿ(0"ÿ!5-,/5!22!7&,ÿ10/ÿ"#,ÿ
14      F'/>ÿ"0ÿ.//!=,ÿ."ÿ)!11,/,("ÿ=,/)!6"2ÿ10/ÿ"#,ÿ"0ÿ),1,().("2*ÿÿ

                            ÿÿ ÿ ÿ ÿ                   RSA 8
     KLMNOÿQORRSTUSVVVQWÿXYTZ[N\]ÿ^OÿQQ_ÿ̀abNcOÿQRdRQdR_ÿeLfNÿgÿYhÿiÿeLfNjXÿ^ORkQl
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 0       !"ÿ$!%&!'$'()!%"ÿ(*)+)ÿ$'ÿ(&,)+-().ÿ/"ÿ&0+ÿ10+"ÿ'"'()23ÿ
 1                4ÿ-5+))ÿ6$(*ÿ(*)ÿ5&7)+!2)!(ÿ(*-(ÿ8+3ÿ9-+5)!(ÿ6-$7).ÿ
 2      -!"ÿ&/1)%($&!ÿ/-').ÿ&!ÿ7)!0)3ÿÿ:&ÿ;+)(+$-,ÿ2&($&!ÿ6-'ÿ<$,).=ÿ!&ÿ
 3      10+"ÿ$!'(+0%($&!ÿ&!ÿ7)!0)ÿ;+&;&').3ÿÿ>*)ÿ.)<)!')ÿ.$.ÿ?!&6ÿ<+&2ÿ
 4      (*)ÿ$!.$%(2)!(ÿ-!.ÿ<+&2ÿ(*)$+ÿ&6!ÿ-%%)''ÿ(&ÿ$!<&+2-($&!ÿ6*)(*)+ÿ
 5      (*)+)ÿ6-'ÿ-ÿ/-'$'ÿ(&ÿ%*-,,)!5)ÿ7)!0)@ÿ-!.ÿ(*)"ÿ%*&')ÿ!&(ÿ(&ÿ
 6      +-$')ÿ$(3ÿÿ
 7                4ÿ-,'&ÿ-5+))ÿ(*-(ÿ8+3ÿA+$2)+B'ÿ%&!.0%(ÿ$!ÿ(*)ÿ
 8      :&+(*)+!ÿC$'(+$%(ÿ&<ÿ4,,$!&$'ÿ6)+)ÿ-%('ÿ(*-(ÿ6)+)ÿ;-+(ÿ&<ÿ(*)ÿ
09      &<<)!')ÿ-!.ÿ%-0').ÿ/"ÿ8+3ÿ9-+5)!(@ÿ6*$%*ÿ6&0,.ÿ/)ÿ'0<<$%$)!(ÿ(&ÿ
00      )'(-/,$'*ÿ7)!0)3ÿÿDE)%0($!5ÿ(*)ÿ(+-.)'ÿ6-'ÿ!&(ÿ$!%$.)!(-,ÿ&+ÿ
01      -!%$,,-+"ÿ(&ÿ(*)ÿ&<<)!')ÿ&<ÿ$!'$.)+ÿ(+-.$!53
02                >*)ÿ5&7)+!2)!(B'ÿ%+&''F)E-2$!-($&!ÿ-!.ÿ%&22)!(ÿ-/&0(ÿ
03      (*)ÿ,-%?ÿ&<ÿ)7$.)!%)ÿ&<ÿ8+3ÿ9-+5)!(B'ÿ+)')-+%*ÿ6-'ÿ-!ÿ
04      -;;+&;+$-()ÿ%&22)!(ÿ&!ÿ(*)ÿ6)$5*(ÿ&<ÿ8+3ÿG)+'()$!B'ÿ()'($2&!"ÿ
05      -!.ÿ&!ÿ)7$.)!%)ÿ-7-$,-/,)ÿ<+&2ÿA+$2)+3ÿÿ4(ÿ6-'ÿ!&(ÿ-ÿ%&22)!(ÿ&!ÿ
06      8+3ÿ9-+5)!(B'ÿ<-$,0+)ÿ(&ÿ$!(+&.0%)ÿ)7$.)!%)ÿ&+ÿ()'($<"3ÿÿ4(ÿ6-'ÿ
07      <-$+ÿ5-2)ÿ<+&2ÿ(*)ÿ.)<)!')ÿ.)%$'$&!ÿ(&ÿ;+)')!(ÿ)7$.)!%)3ÿ
08                G0(ÿ/)%-0')ÿ(*)ÿ)7$.)!%)ÿ$!ÿ(*)ÿ,$5*(ÿ2&'(ÿ<-7&+-/,)ÿ
19      (&ÿ(*)ÿ5&7)+!2)!(ÿ%-!!&(ÿ'0'(-$!ÿ-ÿ%&!7$%($&!@ÿ4ÿ-,'&ÿ%&!%,0.)ÿ
10      0!.)+ÿ(*)ÿ'(-!.-+.'ÿ&<ÿ+)7$)6ÿ0!.)+ÿH0,)ÿII@ÿ-!.ÿ$!ÿ(*)ÿ
11      -,()+!-($7)@ÿ(*-(ÿ(*)ÿ7)+.$%(ÿ$'ÿ'&ÿ%&!(+-+"ÿ(&ÿ(*)ÿ6)$5*(ÿ&<ÿ
12      (*)ÿ)7$.)!%)ÿ(*-(ÿ-ÿ!)6ÿ(+$-,ÿ$'ÿ+)J0$+).ÿ$!ÿ(*)ÿ$!()+)'('ÿ&<ÿ
13      10'($%)3ÿ
14                4!ÿ2"ÿ7$)6@ÿ$(ÿ$'ÿ2&+)ÿ,$?),"ÿ(*-!ÿ!&(ÿ(*-(ÿ/&(*ÿ8+3ÿ

                            ÿÿ ÿ ÿ ÿ                   RSA 9
     RSTUVÿXVYYZ[\Z]]]X^ÿ_`[abUcdÿeVÿXXfÿghiUjVÿXYkYXkYfÿlSmUÿnÿ̀oÿpÿlSmUq_ÿeVYrX^
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 0       !"#$%ÿ'#$ÿ()*ÿ+'),-#%ÿ-#,',-$ÿ.#ÿ.#/.$-)ÿ%)'$.#,0ÿ1"%ÿ%2-ÿ
 1      3).4.#'!ÿ/%'#$')$ÿ56ÿ7)556ÿ8'/ÿ#5%ÿ4-%*ÿÿ92./ÿ./ÿ#5%ÿ'ÿ$-3./.5#ÿ
 2      %5ÿ1-ÿ$5#-ÿ!.,2%!:0ÿ'#$ÿ8-ÿ%)"/%ÿ;").-/ÿ8.%2ÿ%2-/-ÿ$-3./.5#/0ÿ
 3      1"%ÿ%2-)-ÿ')-ÿ)')-ÿ3'/-/ÿ82-#ÿ%2-ÿ3'/-ÿ6'!!/ÿ/25)%ÿ
 4      #5%8.%2/%'#$.#,ÿ'ÿ;"):</ÿ=-)$.3%*ÿ
 5                +5ÿ()*ÿ+'),-#%</ÿ45%.5#ÿ./ÿ,)'#%-$*ÿÿ92-ÿ3!-)>ÿ8.!!ÿ
 6      -#%-)ÿ'ÿ;"$,4-#%ÿ56ÿ'3?".%%'!0ÿ'#$ÿ%2-ÿ5)$-)ÿ/-%%.#,ÿ35#$.%.5#/ÿ
 7      56ÿ)-!-'/-ÿ./ÿ='3'%-$*ÿ
 8                @/ÿ%2-)-ÿ'#:%2.#,ÿ-!/-ÿ65)ÿ4-ÿ%5ÿ'$$)-//ÿ6)54ÿ%2-ÿ
09      ,5=-)#4-#%</ÿ7-)/7-3%.=-Aÿÿ
00                (B*ÿCD99DBEÿÿF5")ÿG5#5)0ÿ4:ÿ5#!:ÿ?"-/%.5#ÿ./0ÿ8.!!ÿ'ÿ
01      8).%%-#ÿ57.#.5#ÿ65!!58Aÿÿ
02                9GDÿHIJB9EÿÿK5*
03                (B*ÿCD99DBEÿÿI>':*ÿ
04                9GDÿHIJB9Eÿÿ@%</ÿ65)ÿ%2-ÿ)-'/5#/ÿ/%'%-$ÿ.#ÿ57-#ÿ
05      35")%ÿLLÿ
06                (B*ÿCD99DBEÿÿI>':*ÿ
07                9GDÿHIJB9EÿÿLLÿ%2-ÿ45%.5#ÿ./ÿ,)'#%-$*ÿ
08                M#:%2.#,ÿ6")%2-)ÿ6)54ÿ%2-ÿ$-6-#/-Aÿÿ
19                (B*ÿCBIG(MKEÿÿK5*ÿÿ92'#>ÿ:5"0ÿF5")ÿG5#5)*ÿÿG'=-ÿ'ÿ
10      2'77:ÿ25!.$':*ÿ
11                9GDÿHIJB9EÿÿN-<)-ÿ.#ÿ)-3-//*ÿ
12                (B*ÿCD99DBEÿÿ92'#>ÿ:5"ÿ=-):ÿ4"320ÿF5")ÿG5#5)*ÿ
13                (+*ÿHGIHBIKEÿÿ92'#>ÿ:5"*ÿÿ
14           OP)53--$.#,/ÿ35#3!"$-$*Q

                            ÿÿ ÿ ÿ ÿ                   RSA 10
     `abcdÿfdgghijhkkkflÿmniopcqrÿsdÿfftÿuvwcxdÿfgygfygtÿza{cÿ|ÿn}ÿ|ÿza{c~mÿsdgf
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 4                     $'ÿ())**+ÿ,-ÿ(+./0'ÿ1(ÿ2*3*40ÿ5*36780ÿ62/6ÿ62*ÿ
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 6      >3/)ÿ"=)7+9ÿ<3(5**17+9:ÿ2/1ÿ7+ÿ62*ÿ/4(?*@*+676)*1ÿ5/:*ÿ4*8(3*ÿ
 7      62*ÿA>B>"&CD!ÿ,&B$EAÿE-ÿEA&A'ÿ(+*ÿ(8ÿ62*ÿF=19*:ÿ(8ÿ:/71ÿ(=36'ÿ
 8      /6ÿ275/9('ÿ$))7+(7:'ÿ(+ÿG*5*;4*3ÿHI'ÿHIHJ-
09
00
01      ÿÿÿÿÿÿÿÿLMLÿNOPPQQRÿSTÿNORUVWXÿNYZXÿZSZXÿNZZÿ [\L\[L\]\^
02                ÿÿÿÿÿ_ÿ+ÿ7>68*81ÿ7E567//6)ÿ*:ÿ(G=73:6ÿ6"3*7<5(6ÿ36(*=336 ÿÿÿG/6*
03                 ÿB(362ÿ*ÿÿ3!+ÿ/G:76:*633+ÿ7G576ÿ?(78:ÿ7$()+)7+(7:
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                            ÿÿ ÿ ÿ ÿ                   RSA 11
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    CERTIFICATE OF COMPLIANCE WITH CIRCUIT RULE 30(D)

      Pursuant to Circuit Rule 30(d), I, Matthew M. Getter, counsel for

Plaintiff-Appellant, UNITED STATES OF AMERICA, state that the appendix

included with this brief on appeal incorporates the materials required under

Circuit Rule 30(a) and (b).

                        By:            /s/ Matthew M. Getter
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       Case: 24-1102    Document: 9         Filed: 06/03/2024   Pages: 67


                       CERTIFICATE OF SERVICE

     I hereby certify that on June 3, 2024, I electronically filed the foregoing

Brief and Short Appendix of the United States with the Clerk of the Court for

the United States Court of Appeals for the Seventh Circuit by using the

CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.


                                      Respectfully submitted.

                       By:            /s/ Matthew M. Getter
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